United States District Court
Northern District of California

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN JOSE DIVISION

UNITED STATES OF AMERICA, Case No. 5:18-cr-00258-EJD-1

Plaintiff, FINAL VERDICT FORM

Vv.

ELIZABETH A. HOLMES,
Defendant.

 

We, the members of the Jury in the above-entitled case, unanimously find the defendant,

Elizabeth Holmes:

1, G wilt v [GUILTY / NOT GUILTY] of the
charge of Conspiracy to Commit Wire Fraud against Theranos investors in violation of 18 U.S.C.
§ 1349, as charged in Count One of the indictment.

2. bone Gor Ly

charge of Conspiracy to Commit Wire Fraud against Theranos paying patients in violation of 18

[GUILTY / NOT GUILTY] of the

U.S.C. § 1349, as charged in Count Two of the indictment.

3. [GUILTY / NOT GUILTY] of the
charge of Wire Fraud against Theranos investors, in violation of 18 U.S.C. § 1343, in connection
with a wire transfer of $99,990 on or about December 30, 2013, as charged in Count Three of the

indictment.

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FINAL VERDICT FORM

 
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4, [GUILTY / NOT GUILTY] of the
charge of Wire Fraud against Theranos investors, in violation of 18 U.S.C. § 1343, in connection
with a wire transfer of $5,349,900 on or about December 31, 2013, as charged in Count Four of
the indictment.

5. [GUILTY / NOT GUILTY] of the
charge of Wire Fraud against Theranos investors, in violation of 18 U.S.C. § 1343, in connection
with a wire transfer of $4,875,000 on or about December 31, 2013, as charged in Count Five of
the indictment.

6 Guily

charge of Wire Fraud against Theranos investors, in violation of 18 U.S.C. § 1343, in connection

{GUILTY / NOT GUILTY] of the

with a wire transfer of $38,336,632 on or about February 6, 2014, as charged in Count Six of the
indictment.
7. Guilty

charge of Wire Fraud against Theranos investors, in violation of 18 U.S.C. § 1343, in connection

[GUILTY / NOT GUILTY] of the

with a wire transfer of $99,999,984 on or about October 31, 2014, as charged in Count Seven of
the indictment.

8. La wi ley [GUILTY / NOT GUILTY] of the

charge of Wire Fraud against Theranos investors, in violation of 18 U.S.C. § 1343, in connection
with a wire transfer of $5,999,997 on or about October 31, 2014, as charged in Count Eight of the
indictment.

10. Wot Gui by

charge of Wire Fraud against Theranos paying patients, in violation of 18 U.S.C. § 1343, in

[GUILTY / NOT GUILTY] of the

connection with a wire transmission of Patient E.T.’s laboratory blood test results on or about May
11, 2015, as charged in Count Ten of the indictment.
11. Mok Guilt y

charge of Wire Fraud against Theranos paying patients, in violation of 18 U.S.C. § 1343, in

[GUILTY / NOT GUILTY] of the

connection with a wire transmission of Patient M.E.’s laboratory blood test results on or about

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May 16, 2015, as charged in Count Eleven of the indictment.
12. Lox Cwilty !

charge of Wire Fraud against Theranos paying patients, in violation of 18 U.S.C. § 1343, in

[GUILTY / NOT GUILTY] of the

connection with a wire transfer of $1,126,661 on or about August 3, 2015, as charged in Count

Twelve of the indictment.
Dated: ul 3 22

Za

Jury Foreperson

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